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               11 COMMUNICATIONS, INC., AND
                  CELLCO PARTNERSHIP D/B/A
               12 VERIZON WIRELESS
               13
                                       UNITED STATES DISTRICT COURT
               14
                                     SOUTHERN DISTRICT OF CALIFORNIA
               15
               16 CARUCEL INVESTMENTS, L.P., a                 CASE NO. 3:16-cv-00118-H-KSC
                  Delaware limited partnership,
               17              Plaintiff,
               18                                              DEFENDANTS’ OPPOSITION TO
                        v.                                     PLAINTIFF’S MOTION TO
               19                                              EXCLUDE SUPPLEMENTAL
                  NOVATEL WIRELESS, INC., a                    EXPERT TESTIMONY OF DR.
               20 Delaware corporation, VERIZON                DEFOREST MCDUFF
                  COMMUNICATIONS, INC., a Delaware
               21 corporation, CELLCO PARTNERSHIP              Date: April 3, 2017
               22 D/B/A VERIZON WIRELESS, a                    Time: 9:00 a.m.
                  Delaware general partnership,                Courtroom: 15A
               23                                              Judge: Hon. Marilyn L. Huff
               24              Defendants.
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                                                                              Case No. 3:16-cv-00118-H-KSC
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                 1 I.         DR. MCDUFF WAS FULLY JUSTIFIED IN OPINING THAT THERE
                              WOULD BE NO HYPOTHETICAL NEGOTIATION WITH VERIZON
                 2            BECAUSE THE HYPOTHETICAL NEGOTIATION WITH NOVATEL
                              WOULD HAVE COVERED VERIZON’S INFRINGEMENT
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                              Dr. McDuff’s Supplemental Report opined that there would be no separate
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                        hypothetical negotiation between Carucel and Verizon because the hypothetical
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                        negotiation between Carucel and Novatel would have addressed infringement for
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                        both Novatel and Verizon. To support this opinion, Dr. McDuff reasoned that: “(1)
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                        Novatel’s royalty and license would cover Verizon’s ability to resell the accused
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                        MiFi devices . . . ; (2) Carucel is making no separate claims of infringement by
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                        Verizon other than the resale of the accused MiFi devices; (3) Novatel is defending
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                        and indemnifying Verizon for its alleged infringement in this lawsuit; and (4) I have
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                        been informed that the first sale doctrine and patent exhaustion, from a legal
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                        perspective, would cause Verizon to be licensed as a downstream customer.”
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                        McDuff Supp. Report (Dkt. 210-2) at 4. Dr. McDuff further reasoned that
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                        “[e]conomically, it is much more desirable and administratively feasible for
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                        companies to negotiate with the single manufacturer than the full range of
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                        distributors and resellers, which can be numerous. In light of this, Verizon would
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                        have no reason to negotiate directly with Carucel, and would, if requested to
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                        negotiate by Carucel, simply direct Carucel to negotiate with Novatel (as it has done
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                        in this lawsuit by tendering its defense to and being fully indemnified by Novatel).”
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                        Id. at 4-5. In light of all these factors, he opined that that reasonable royalties for
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                        Verizon’s alleged infringement would have been addressed through the hypothetical
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                        negotiation between Carucel and Novatel, such that there would have been no
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                        separate hypothetical negotiation between Carucel and Verizon. See id.
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                              Carucel now argues that Dr. McDuff’s opinion “is improper as a matter of
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                        law[,] and allowing that opinion to be presented to the jury would constitute legal
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                        error.” Opp. at 1:13-14. Carucel is mistaken. When a downstream user or reseller
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                        of an accused product (such as Verizon) is sued for infringement, it is perfectly
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                 1 appropriate to consider whether the hypothetical royalty would have been paid by
                 2 the upstream manufacturer of the product. As the Federal Circuit stated in one of its
                 3 earliest precedential decisions:
                 4        Thus, in a suit against a user, we cannot simply hypothesize what a
                          reasonable user would pay apart from considerations of what royalty a
                 5        maker would pay and what rights would flow to the user if the maker
                          had a license. Simply stated in terms of this case, the quantum of
                 6        Stickle’s recovery for an infringing fryer does not depend on whether
                          Heublein [the downstream user] or HCI [the upstream maker] is the
                 7        defendant. Rather, it depends on what royalty reasonably would have
                          resulted from negotiations where a willing licensor was aware that HCI
                 8        would make and Heublein would use the fryer.
                 9 Stickle v. Heublein, Inc., 716 F.2d 1550, 1562 (Fed. Cir. 1983).
               10         Here too, one cannot simply hypothesize what a downstream reseller like
               11 Verizon would pay apart from considerations of what royalty the upstream
               12 manufacturer (Novatel) would pay, and what rights would flow to Verizon as a
               13 result of Novatel’s royalty payment. This is just what Dr. McDuff did. He laid out
               14 numerous reasons why a hypothetical negotiation over the MiFi devices would have
               15 taken place between Carucel and Novatel, and how Novatel’s royalty payment over
               16 the MiFi devices meant that Verizon could not be double-charged for merely re-
               17 selling those same devices. See Glenayre Elecs., Inc. v. Jackson, 443 F.3d 851, 864
               18 (Fed. Cir. 2006) (“[A] party is precluded from suing to collect damages for direct
               19 infringement by a buyer and user of a product when actual damages covering that
               20 very use have already been collected from the maker and seller of that product.”).
               21         By the same token, Stickle refutes Carucel’s argument that the hypothetical
               22 negotiation must have been between Carucel and Verizon simply because Verizon
               23 has been named as a defendant. As Stickle states: “the quantum of Stickle’s
               24 recovery for an infringing fryer does not depend on whether Heublein or HCI is the
               25 defendant. Rather, it depends on what royalty reasonably would have resulted from
               26 negotiations where a willing licensor was aware that HCI would make and Heublein
               27 would use the fryer.” Stickle, 716 F.2d at 1562. Here too, the reasonable royalty
               28 “depends on what royalty reasonably would have resulted from negotiations where a

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                 1 willing licensor was aware that [Novatel] would make and [Verizon] would [re-sell]
                 2 the [MiFi].” Dr. McDuff presented a wealth of case-specific reasons why Novatel
                 3 would have represented both Defendants in negotiating over this reasonable royalty,
                 4 and Carucel has presented no rationale for why Dr. McDuff’s reasoning is flawed.
                 5 Indeed, as explained in Defendants’ Daubert motion against Carucel’s Supplemental
                 6 Damages Report (Dkt. 207), it is Carucel’s expert who behaves unreliably by
                 7 positing that there that would be a separate negotiation between Carucel and
                 8 Verizon, when all evidence indicates that both Defendants’ infringement would be
                 9 addressed through a single hypothetical negotiation between Carucel and Novatel.
               10         Later cases have echoed Stickle and held that, when an upstream
               11 manufacturer and a downstream user or reseller are sued for infringement, it is
               12 perfectly appropriate to consider whether the manufacturer would have handled the
               13 negotiation for both defendants — particularly if the manufacturer is indemnifying
               14 the downstream defendant. For example, in Lucent Techs. Inc. v. Gateway, Inc., No.
               15 CIV 02CV2060-B CAB, 2007 WL 1306539 (S.D. Cal. Apr. 30, 2007), Microsoft
               16 manufactured the infringing software, which was then incorporated into Dell and
               17 Gateway computers. In ruling upon motions in limine, Judge Brewster of this
               18 District held that Defendants’ expert “can testify as to whether Dell and Gateway
               19 would have relied on Microsoft to make a license with Lucent or whether Microsoft
               20 would have indemnified as considerations in a hypothetical negotiation.” Id. at *1.
               21 Judge Brewster’s holding applies equally to this case, where Novatel is the
               22 manufacturing defendant who is indemnifying downstream parties like Verizon.
               23 See also Itex, Inc. v. Westex, Inc., No. 05 CV 6110, 2011 WL 856583, at *4 (N.D.
               24 Ill. Mar. 9, 2011) (“the entire amount of potential damages would be accounted for
               25 in a hypothetical royalty between the plaintiffs and the manufacturers, rendering the
               26 details of the customers’ downstream sales irrelevant.”)
               27         None of Carucel’s cited cases (Opp. at 1:20-2:22) suggest a different result.
               28 Indeed, none of Carucel’s cited cases even address the question of whether the

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                 1 upstream manufacturer or a downstream user/reseller would be the appropriate
                 2 counterparty in the hypothetical negotiation. As discussed above, the on-point
                 3 caselaw indicates that the upstream manufacturer is the appropriate counterparty,
                 4 and the case-specific evidence from this case clearly shows that the upstream
                 5 manufacturer (Novatel) would indeed have negotiated on behalf of the downstream
                 6 re-seller (Verizon). Dr. McDuff properly recognized and applied this fact.
                 7 II.    CARUCEL’S OTHER ARGUMENTS ARE WITHOUT MERIT
                 8        The second part of Carucel’s Daubert motion argues vaguely that “Dr.
                 9 McDuff’s other opinions [in his Supplemental Report] are based on the same flawed
               10 analysis as his initial report. Rather than repeat the same arguments, Carucel asks
               11 the Court to apply its ruling on Carucel’s earlier Daubert motion to the supplement
               12 as well.” Mot. at 3:10-12. To the extent Carucel re-alleges arguments from its
               13 earlier Daubert motion, Defendants oppose for the same reasons given in their
               14 Opposition to Carucel’s earlier Daubert motion.
               15         Besides re-alleging arguments from its earlier Daubert motion, Carucel also
               16 states that the Verizon settlement agreements cited in Dr. McDuff’s Supplemental
               17 Report are not sufficiently “comparable to the current case, making his opinions as
               18 to those licenses inadmissible under Daubert.” Mot. at 3:21-22 (citing McDuff
               19 Supp. Report at 14-23). Carucel gives no further explanation of its argument,
               20 making it difficult for Defendants to fairly respond. But in any event, Dr. McDuff
               21 did not use the cited settlement agreements to generate a reasonable royalty. He
               22 merely used these agreements to show how “Verizon and its suppliers often enter
               23 into low-value settlement agreements, that is, paying a low lump-sum settlement to
               24 avoid ongoing litigation expense and seeking to resolve outstanding patent
               25 infringement disputes. Notably, these agreements are with non-practicing entities
               26 who do not make or sell products in the market.” McDuff Supp. Report at 23.
               27         If there would have been a hypothetical negotiation between Carucel and
               28 Verizon at all, then it is proper to present the types of licenses that Verizon typically

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                 1 enters into with non-practicing patentees, so that the jury would understand
                 2 Verizon’s general practices heading into the hypothetical negotiation. This is
                 3 relevant background material. Defendants agree that Dr. McDuff could not base a
                 4 specific royalty number on these settlement agreements absent a rigorous showing
                 5 that they are technically comparable. But he did not attempt to use these settlement
                 6 agreements to prove a specific royalty. He used them for background purposes
                 7 only. Nothing in Fed. R. Evid. 702 or Daubert forbids him from doing so.
                 8          Carucel’s final argument is to say that Defendants did not produce these
                 9 settlement agreements during the course of fact discovery, and therefore Dr. McDuff
               10 should be precluded from relying on them as a procedural matter. This argument
               11 fails for at least two reasons. First, a Daubert motion tests the substantive reliability
               12 of an expert’s opinions; it is not the proper vehicle to litigate procedural issues such
               13 as timeliness. Second, Defendants had no idea that Carucel was pursuing a Verizon-
               14 as-Hypothetical-Negotiator damages theory until the service of Carucel's
               15 Supplemental Damages Report on February 3, 2017. It was this new theory that
               16 rendered Verizon’s license agreements relevant in the first place. Thus, Defendants
               17 collected these license agreements and served them concurrently with Dr. McDuff's
               18 Supplemental Report. Given the circumstances, the timing of this production was
               19 proper, and Carucel does not even try to articulate any prejudice that it suffered.
               20 Accordingly, Carucel’s attempt to strike these licenses on procedural grounds
               21 should be rejected.1
               22 III.      CONCLUSION
               23           For the foregoing reasons, Defendants respectfully request that the Court deny
               24 Carucel’s Motion.
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               26       Defendants also respectfully incorporate their Opposition to Carucel’s Motion
                  in Limine #2, which gives further detail and explanation on why the challenged
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                  licenses were timely produced.
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                 2 Dated: March 20, 2017           QUINN EMANUEL URQUHART
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                 1                              CERTIFICATE OF SERVICE
                 2           The undersigned hereby certifies that a true and correct copy of the above and
                 3 foregoing document has been served on March 20, 2017 to all counsel of record
                 4 who are deemed to have consented to electronic service via the Court's CM/ECF
                 5 system per Civil Local Rule 5.4. Any other counsel of record will be served by
                 6 electronic mail, facsimile and/or overnight delivery.
                 7
                 8
                        DATED: March 20, 2017          By: /s/ Amar Thakur
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